
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1878

                            THE NEWSPAPER GUILD OF SALEM,
                          LOCAL 105 OF THE NEWSPAPER GUILD,

                                Plaintiff - Appellant,

                                          v.

                              OTTAWAY NEWSPAPERS, INC.,
                       THE SALEM NEWS PUBLISHING COMPANY, INC.,
                             AND ESSEX COUNTY NEWSPAPERS,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                                _____________________

               Ruth  A.  Bourquin,  with  whom  Lois  Johnson  and  Angoff,
               __________________               _____________       _______
          Goldman,  Manning, Pyle, Wanger &amp;  Hiatt, P.C. were  on brief for
          ______________________________________________
          appellant.
               Richard  A. Perras, with whom Steven M. Cowley and Edwards &amp;
               __________________            ________________     _________
          Angell were on brief for appellees.
          ______



                                 ____________________

                                    April 3, 1996
                                 ____________________















                    TORRUELLA,  Chief  Judge.     Plaintiff-Appellant   The
                    TORRUELLA,  Chief  Judge
                                ____________

          Newspaper  Guild of Salem, Local 105 of the Newspaper Guild, (the

          "Guild")  appeals the district court's denial  of its request for

          injunctive    relief    against   Defendants-Appellees    Ottaway

          Newspapers, Inc., The Salem News Publishing Co., and Essex County

          Newspapers   (together,  the  "Publisher").   The district  court

          denied  the  Guild's  request for  (i)  an  order compelling  the

          Publisher to submit to arbitration grievances arising under their

          collective  bargaining  agreement   concerning  the   Publisher's

          obligations  to bargain  a successor agreement  and to  honor the

          terms  of  their  present  agreement  until   those  negotiations

          concluded  and (ii) an order enjoining  the Publisher from laying

          off  members  of the  Guild,  pending resolution  of  the Guild's

          grievances.   For the following reasons, we dismiss the appeal in

          part as moot, and affirm in all other respects.

                          FACTUAL AND PROCEDURAL BACKGROUND
                          FACTUAL AND PROCEDURAL BACKGROUND
                          _________________________________

                    This case  stems from  the merger and  consolidation of

          three  newspapers.      Essex  County   Newspapers  ("ECN"),   an

          unincorporated  division of  Ottaway Newspapers,  Inc., publishes

          The Beverly Times  and The Peabody Times,  daily newspapers, from
          _________________      _________________

          its  plant in Beverly, Massachusetts.   Effective March 15, 1995,

          ECN  completed its acquisition of The Salem Evening News, a daily
                                            ______________________

          newspaper, published  in Salem, Massachusetts.   This acquisition

          was  completed through the merger  of the prior  owner, the Salem

          News Publishing Company, into  the Salem News Publishing Company,

          Inc.,  a wholly-owned subsidiary of Ottaway Newspapers, Inc.  ECN


                                         -2-














          is consolidating the three newspapers into one publication to  be

          called The Salem Evening  News.  This consolidated daily is to be
                 _______________________

          published from  ECN's Beverly facility,  which is less  than five

          miles from the less modern Salem plant.

                    The district  court noted that  this consolidation  was

          the principal reason for ECN's acquisition and that it required a

          reduction in the work force  in order to avoid duplication.   For

          over  fifty years, the  Guild has been  the collective bargaining

          representative for  the employees of  the publisher of  The Salem
                                                                  _________

          Evening News.   The  most recent collective  bargaining agreement
          ____________

          between the Guild and  the former publisher of The  Salem Evening
                                                         __________________

          News  expired  on  March  31,  1995  (the  "Agreement").1   Under
          ____

          Article 15 of the  Agreement, its terms and conditions  remain in

          effect during negotiations for a successor agreement.2
                              
          ____________________

          1    By  its  original  terms, the  Agreement  was  to  expire on
          September 30, 1994; but, it was extended until March 31, 1995, by
          agreement  of the parties.  The Guild contends that the Agreement
          was  extended because of the then pending acquisition and due, in
          part, to  the Publisher's representations that  a "new Agreement"
          would  contain  enhancements  or  improvements  of  the  existing
          Agreement.

          2  ARTICLE 15.  Duration and Renewal

                      15.1  This Agreement shall  commence on the
                    9th day of November,  1993, and expire on the
                    30th day of September, 1994, and  shall inure
                    to the  benefits of  and be binding  upon the
                    successors and assigns of the Publisher.

                      15.2  Within eighty (80) days, and not less
                    than   thirty   (30)   days  prior   to   the
                    termination of this Agreement,  the Publisher
                    or the Guild may initiate negotiations  for a
                    new Agreement  to take effect April  1, 1995,
                    the new contract shall be made retroactive to
                    September 30, 1994.  

                                         -3-














                    In   January   1995,   the   Guild   timely   initiated

          negotiations for a successor agreement, and the first substantive

          bargaining session occurred on March 30, 1995.  At that time, the

          Publisher began  negotiations with  all of the  unions, including

          the Guild, at  the Salem  facility and presented  the same  basic

          proposal  to each:    elimination of  jobs  in Salem  due to  the

          consolidation, and  layoff severance packages for those employees

          not offered  employment  in the  consolidated  operation.   In  a

          letter dated  April 14, 1995,  the Publisher communicated  to the

          Guild "that [its] proposal is to negotiate a merger/consolidation

          agreement  and not  a  long-term contract  which [it]  believe[s]

          would not be appropriate because a question of representation may

          be  presented."   (Appellant's  Appendix,  p.  143).    The  next

          bargaining  session took place  on May 5,  1995.   Seventeen days

          later, in a letter dated May 22, the Guild notified the Publisher

          of its grievance that  the Publisher was violating Article  15 of

          the Agreement "by  its refusal to bargain a  successor Agreement,

          by its failure to honor  all terms and conditions of  the current

          Agreement during  the course of negotiations, and  by its related

          conduct  . .  . ."  (Appellant's Appendix,  p. 202).   Subsequent

          bargaining  sessions occurred  on  May 25, June  7, and  June 13,

          1995.

                    Soon thereafter, on June 21,  the Guild filed a  Demand

          for  Arbitration  with   the  American  Arbitration  Association,

          demanding that the Publisher  arbitrate the Guild's grievance and

          that the  Publisher  be ordered  to  "bargain a  'new  Agreement'


                                         -4-














          within the meaning of  Article 15.2, restore all status  quo ante
                                                           ________________

          conditions  pending  such  negotiations  and  make  all  affected

          employees  whole."   (Appellant's  Appendix, p.  234).   Two days

          later, on June  23, 1995, the  Guild launched a  double-barrelled

          attack.  First, the  Guild filed a Complaint pursuant  to Section

          301 of the Labor-Management  Relations Act ("LMRA"), 29 U.S.C.   

          185, as amended,3 in the  U.S. District Court of the  District of

          Massachusetts,  seeking injunctive relief in the form of an order

          compelling the  Publisher to submit grievances  arising under the

          Agreement  to  arbitration  as  well as  a  permanent  injunction

          against layoffs of Guild employees in violation of Article 4.5 of

          the Agreement.4    Second,  it  filed an  unfair  labor  practice

          charge  with the  National  Labor Relations  Board (the  "NLRB"),

          pursuant  to  Section  8  of  the  National Labor  Relations  Act

          ("NLRA"),  29 U.S.C.    158,  as amended, asserting,  inter alia,
                                                                __________

          that  the   Publisher  breached   its  obligations   "to  bargain

          collectively  in good  faith  . .  .  by  refusing to  bargain  a

          successor  agreement . . . and by insisting instead on bargaining

          only a 'merger/consolidation' agreement."  (Appellant's Appendix,

                              
          ____________________

          3    Section 301(a)  of the  Labor  Management Relations  Act, 29
          U.S.C.    185(a),  provides:  "Suits for  violation of  contracts
          between  an  employer  and   a  labor  organization  representing
          employees in  an industry affecting  commerce as defined  in this
          chapter, or between any such labor organizations,  may be brought
          in any district court of the United States having jurisdiction of
          the parties,  without respect  to the  amount  in controversy  or
          without regard to the citizenship of the parties."

          4  Article  4.5 provides that  "[t]here shall be no  dismissal of
          employees in the Guild jurisdiction for economy or as a result of
          new or modified processes or equipment."

                                         -5-














          p. 247).   The Guild requested essentially the  same relief as in

          its  Complaint,  including a  request  that  the NLRB  pursue  an

          injunction against layoffs.  (Appellant's Appendix, pp. 301-03).

                    After a hearing, the  district court denied the Guild's

          motion  for injunctive  relief on  July 24,  1995.   The district

          court   ruled  that   the  grievance   regarding  the   scope  of

          negotiations   was  expressly   excepted  from   the  Agreement's

          arbitration  provision, Article  12,  which the  Guild sought  to

          enforce.   The district court,  finding that no  employee layoffs

          had  occurred  during  the  negotiations, held  that  should  any

          layoffs occur  during negotiations  it would entertain  a renewed

          petition  to enjoin  them.   The district  court also  noted that

          "[i]f  any  layoffs should  occur  after  negotiations have  been
                                             _____

          concluded,  any  unfair  labor  practice  would  lie  within  the

          jurisdiction of  the [NLRB], before  which body a  case involving

          the same issues is presently pending."5

                    On July  28, 1995,  the Guild filed  this interlocutory

          appeal.   A week later, on  August 2, the  Publisher notified the

          Guild  that negotiations  were at  an impasse  and that  it would

          implement its  final proposals unless  the Guild was  prepared to

          meet again or respond with counterproposals before noon on August

          7.  Having had  no response, the Publisher notified the  Guild on

                              
          ____________________

          5  In  a letter  dated August 1,  1995, the American  Arbitration
          Association  notified   the  parties  that  "[g]iven  the  courts
          position regarding the arbitrability  of the matter as  stated in
          their  opinion dated  July  25, 1995,  the  Association will  not
          proceed with administration of this matter without the consent of
          the parties or a court order."  (Appellant's Appendix, p. 293).

                                         -6-














          August 7 that negotiations  for a merger/consolidation  agreement

          were concluded and that layoffs would be effective August 21.  On

          August  9, 1995, the Guild filed an amended unfair labor practice

          charge  with  the  NLRB,  challenging, among  other  things,  the

          Publisher's unilateral declaration of impasse, conclusion of  the

          negotiations and implementation of  the layoffs.  The Guild  then

          filed an emergency motion  with the district court on  August 14,

          1995,  seeking  an  injunction prohibiting  any  layoffs  pending

          resolution  of this appeal.   The emergency motion  was denied on

          August 16,  1995.   Two days later,  the Guild filed  two motions

          with this court  seeking an injunction pending  resolution of the

          appeal  and for  an  expedited appeal.    This court  denied  the

          former6 and granted the latter.

                    Before us, then, is the Guild's appeal  of the district

          court's July 24, 1995, order.  The Guild argues that the district

          court erred by not applying the mandatory presumption in favor of

          arbitration  and by failing to compel the Publisher to proceed to

          arbitration.   It  requests that  the district  court's order  be

          reversed.  The Guild  also argues that the district  court abused

          its  discretion by refusing to enjoin the layoff of Guild members

          and requests  that the  status quo  ante be  restored.   We  have
                                  ________________

                              
          ____________________

          6    The  record  shows  that  of  the  seventy-five  (75)  Guild
          employees, thirty-seven (37) have  been fully integrated into the
          new consolidated The Salem  Evening News.  (Appellant's Appendix,
                           _______________________
          pp.  273 &amp; 296).   The Publisher  states, and the  Guild does not
          dispute,  that  of  the  thirty-eight  (38) that  were  laid  off
          effective August 21,  thirty-two (32)  executed full  releases of
          all  claims  relating  to  their employment  and  termination  in
          consideration for severance packages.

                                         -7-














          jurisdiction over this interlocutory appeal pursuant to 28 U.S.C.

            1292(a).

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                                          I

                    As  a  threshold  matter,  we must  first  address  the

          Publisher's motion  to dismiss  this interlocutory appeal  on the

          grounds that  it is moot.  The Publisher argues that both aspects

          of  the Guild's  appeal --  regarding compelling  arbitration and

          enjoining layoffs --  has been rendered moot  due to developments

          since  the  district court's  decision;  namely,  the Publisher's

          declaration  of   impasse,   the  conclusion   of  the   parties'

          negotiations, and  the implementation of layoffs  which the Guild

          sought to enjoin.

                    We address  the  layoffs first.    An appeal  from  the

          denial of  a motion for  preliminary injunction is  rendered moot

          when the act sought to be enjoined has occurred.   See, e.g., CMM
                                                             ___  ____  ___

          Cable  Rep., Inc. v. Ocean  Coast Properties, Inc.,  48 F.3d 618,
          _________________    _____________________________

          621 (1st  Cir. 1995) ("no justiciable  controversy exists because

          this appeal  can no  longer  serve the  intended harm  preventing

          function, or, put another way, this court, . . . has no effective

          relief to offer");  McLane v.  Mercedes-Benz of N.  Am., Inc.,  3
                              ______     ______________________________

          F.3d 522, 525 (1st  Cir. 1993); Oakville Dev. Corp. v.  FDIC, 986
                                          ___________________     ____

          F.2d 611, 613 (1st  Cir. 1993) ("When . . . the  act sought to be

          enjoined actually transpires, the  court may thereafter be unable

          to  fashion  [  ]  meaningful  [relief].     In  such  straitened

          circumstances,  the appeal  becomes moot.").   Here,  the actions


                                         -8-














          which the Guild sought to enjoin (the layoffs of employees in the

          Guild's bargaining unit) have already occurred.

                    The Guild disputes, however,  that the layoffs issue is

          moot,  arguing that it falls within the exception to the mootness

          doctrine; namely, that a case  otherwise moot can nonetheless  be

          decided  if (1)  "'there [is]  a reasonable expectation  that the

          same complaining party [will] be subject to the same action'; and

          (2) 'the  challenged action was in  its duration too short  to be

          fully litigated prior to its cessation or expiration.'"  Anderson
                                                                   ________

          v. Cryovac, 805 F.2d 1, 4  (1st Cir. 1986) (quoting Weinstein  v.
             _______                                          _________

          Bradford, 423 U.S.  147, 149  (1975)).  Contrary  to the  Guild's
          ________

          argument,  the denial of the injunction  against the layoffs does

          not fall within this exception.

                    We need not determine whether the second  prong of this

          test is met  because the first is not.7   While the Publisher may

          determine  that additional  layoffs  are necessary  in its  post-

          consolidation operation, "there is no  demonstrated probability,"

          Weinstein, 423 U.S. at 149, that additional layoffs are likely or
          _________

          that Guild members  would be among those targeted.   Based on the

          record  before  us, implementation  of  the  layoffs due  to  the

          consolidation is a one-time occurrence.  See, e.g., Railway Labor
                                                   ___  ____  _____________

          Exec. Assoc. v. Chesapeake W. Ry., 915 F.2d 116, 118-19 (4th Cir.
          ____________    _________________

                              
          ____________________

          7   As  to the  second prong,  we note  that because  the layoffs
          challenged by the  Guild remain in effect and are  the subject of
          the Guild's unfair labor practice charge pending before the NLRB,
          the  Guild will have an  opportunity to fully  be heard regarding
          the  propriety of  those layoffs  despite  the dismissal  of this
          aspect of the appeal as moot.

                                         -9-














          1990)  (holding that  union's  claim for  injunctive relief  from

          transfers of railroad lines  was mooted by the completion  of the

          transfers), cert.  denied, 499  U.S. 921 (1991);  Seafarers Int'l
                      _____________                         _______________

          Union  of N. Am. v.  National Marine Servs.,  Inc., 820 F.2d 148,
          ________________     _____________________________

          151 (5th Cir. 1987) (holding that sale of virtually whole tugboat

          fleet   and  accompanying  layoffs  is  a  one-time  occurrence).

          Because  there  is  no  basis  in  the  record  to  suggest  that

          additional layoffs of Guild  members are likely to recur,  we are

          unpersuaded  by the  Guild's  claim that  "Guild  members in  the

          merged operation  continue to be at risk  of layoff" (Appellant's

          Memorandum in Opposition to  Appellees' Motion to Dismiss Appeal,

          p. 18).   See Berry  v. School Dist.  of Benton Harbor,  801 F.2d
                    ___ _____     ______________________________

          872,  874 (6th Cir. 1986) ("The mere possibility that a situation

          will  arise . .  . is  insufficient to  justify orders  which are

          designed,   in    effect,   to   protect    against   conceivable

          eventualities."); Williams v. Alioto, 549 F.2d 136, 143 (9th Cir.
                            ________    ______

          1977) (stating that a  mere speculative possibility of repetition

          of  the  challenged  conduct  cannot  avoid  application  of  the

          mootness  doctrine),   cert.  denied,  450   U.S.  1012   (1981).
                                 _____________

          Furthermore,  while   a  return  to   the  status  quo   ante  is
                                                     __________________

          theoretically  possible, given  that most  of the  laid-off Guild

          employees  have   signed  releases  in  exchange   for  severance

          packages, a return  to the status quo at  this juncture would be,
                                     __________

          for the most part, meaningless.  As for those who have not signed

          releases, relief is available to them through the NLRB, which has

          before it the Guild's unfair labor practice charge.


                                         -10-














                    Thus,  in sum,  given that the  action which  the Guild

          sought  to  enjoin has  already occurred,  and  that there  is no

          reasonable expectation  that Guild  employees will be  subject to

          the same action  again, we  dismiss the Guild's  appeal from  the

          denial of its motion for a preliminary injunction.8

                    This, however,  does not dispose of the whole appeal as

          moot.    The  Publisher  also  argues  that  the  Guild's  appeal

          regarding  the district court's denial of an arbitration order is

          similarly moot due to the  Publisher's declaration of impasse and

          the  conclusion of  the parties'  negotiations.   As there  is no

          dispute that  the terms and  conditions of the  Agreement expired

          upon the  parties'  reaching  impasse  or a  new  agreement,  the

          Publisher contends that the Guild can no longer obtain the relief

          sought in its motion --  i.e., to compel the Publisher "to  honor
                                   ____

          the  terms of  the  collective bargaining  agreement until  those
                                                               ____________

          negotiations  are  completed."    (Appellant's  Appendix,  p.  38
          ____________________________

          (emphasis added)).   In  response, the Guild  argues convincingly

          that,  if it prevails in its contention that the Publisher failed

          to enter  into the contractually required  negotiations, then the

          Publisher's unilateral declaration of impasse is without meaning.

          Because the Guild makes a colorable  argument that it was and  is

          entitled  to  seek some  relief  through arbitration,  we  do not

          believe that its arbitration request is mooted by the Publisher's
                              
          ____________________

          8  Because we have  dismissed this aspect of the appeal  as moot,
          we  do not need  to address the Publisher's  claim that the Guild
          withdrew  its request  for a  preliminary injunction  against the
          layoffs nor resolve whether  or not the denial of  the injunction
          against the layoffs is properly before us. 

                                         -11-














          unilateral declaration  of impasse.  Seafarers, 820  F.2d at 152.
                                               _________

          Thus, we  will exercise our  jurisdiction to review  the district

          court's  order insofar  as it  deals with  the Guild's  motion to

          compel arbitration.

                                          II

                    Having addressed  the motion to dismiss, we turn now to

          the Guild's appeal  regarding the  denial of its  request for  an

          order compelling  arbitration.  We scrutinize  a district court's

          decision  to grant  or withhold  an equitable  remedy, such  as a

          preliminary  injunction,  under a  relatively  deferential glass.

          Absent  mistake  of  law or  abuse  of  discretion,  we will  not

          interfere.    See, e.g.,  Texaco Puerto  Rico,  Inc. v.  Dep't of
                        ___  ____   __________________________     ________

          Consumer  Affairs, 60 F.3d 867,  875 (1st Cir.  1995); Indep. Oil
          _________________                                      __________

          and Chem. Workers of Quincy,  Inc. v. Procter &amp; Gamble Mfg.  Co.,
          __________________________________    __________________________

          864  F.2d 927,  929  (1st Cir.  1988).   In  order  to obtain  an

          injunction, the  Guild must demonstrate first  that its grievance

          is  arbitrable;  second,  that  an  injunction  is  necessary  to

          preserve the  arbitration; and, third, that  irreparable harm and

          imbalanced  hardships  would   result  without  the   injunction.

          International Bhd. of Teamsters, Local  Union No. 251 v. Almac's,
          _____________________________________________________    ________

          Inc., 894 F.2d 464, 465 (1st Cir. 1990).
          ____

                    Our task, then, is to decide whether the district court

          abused  its discretion when it denied the Guild's request that it

          compel  the   Publisher  to  submit  the   Guild's  grievance  to

          arbitration.  In making this determination, the Supreme Court has




                                         -12-














          established  four  principles  to  guide  courts  in  determining

          whether a labor dispute is arbitrable:9

                      Under  the  first principle,  the parties
                      must  have  contracted   to  submit   the
                      grievance  to  arbitration.   The  second
                      principle   requires   that   the   court
                      determine  whether the  contract provides
                      for   arbitration   of   the   particular
                      grievance   in   question.     The  third
                      principle  demands  that  the  court  not
                      decide  the merits of the grievance while
                      determining  the   arbitrability  of  the
                      dispute.    Finally,   if  the   contract
                      contains   an   arbitration   clause,   a
                      presumption of arbitrability arises.

          Cumberland Typographical Union  244 v. The  Times, 943 F.2d  401,
          ___________________________________    __________

          404  (4th  Cir. 1991).   A  party's agreement  to arbitrate  is a

          matter  of  contract  construction   and  whether  a  dispute  is

          arbitrable under a collective  bargaining agreement is a question

          of law for the  court, AT &amp;  T Techs., 475 U.S.  at 649, and  the
                                 ______________

          court should not decline  to order arbitration "unless it  may be

          said with positive assurance  that the arbitration clause  is not

          susceptible  of  an  interpretation  that   covers  the  asserted

          dispute."  Warrior &amp; Gulf,  363 U.S. at 582-583, quoted in AT &amp; T
                     ______________                        _________ ______

          Techs.  , 465 U.S. at 650.   Guided by these principles, then, in
          ______

          determining  whether the  district court  erred when  it did  not
                              
          ____________________

          9   The four principles derive from the Steelworkers Trilogy, the
          collective name  given to  three Supreme  Court cases decided  in
          1960 -- Steelworkers v.  American Mfg. Co., 363 U.S.  564 (1960);
                  ____________     _________________
          Steelworkers v.  Warrior  &amp; Gulf  Navigation  Co., 363  U.S.  574
          ____________     ________________________________
          (1960); Steelworkers v.  Enterprise Wheel &amp;  Car Corp., 363  U.S.
                  ____________     _____________________________
          593  (1960) -- which are  still considered the  foundation of any
          decision involving arbitration imposed by a collective bargaining
          agreement.  See AT &amp;  T Techs., Inc. v. Communication Workers  of
                      ___ ____________________    _________________________
          America, 475 U.S. 643, 648-51 (1986) (discussing the Steelworkers
          _______
          Trilogy);  Montgomery Mailers'  Union No.  127 v.  The Advertiser
                     ___________________________________     ______________
          Co., 826 F.2d 709, 712-13 (11th Cir. 1987) (same).  
          ___

                                         -13-














          compel  arbitration  under  the  arbitration  provisions  in  the

          parties' collective  bargaining agreement,  "we must  confine our

          inquiry to 'ascertaining whether the party seeking arbitration is

          making a claim which  on its face is governed  by the contract.'"

          Montgomery Mailers', 827 F.2d at 712 (quoting  American Mfg. Co.,
          ___________________                            _________________

          363 U.S. at 568).

                    Before turning to the  Guild's grievances to  determine

          whether they  are  arbitrable, we  must  dispose of  a  threshold

          issue:   whether or not the Publisher  is bound by the collective

          bargaining agreement as a successor employer.  Relying on NLRB v.
                                                                    ____

          Fin. Inst. Employees, 475  U.S. 192, 202 (1986), and  Holly Farms
          ____________________                                  ___________

          Corp. v. NLRB, 48 F.3d 1360, 1365 (4th Cir. 1995), the  Publisher
          _____    ____

          argues that as a  matter of federal labor law it  is not bound by

          the  collective   bargaining  agreement   because  there  is   no

          "substantial continuity"  between its ownership and  operation of

          The  Salem Evening News and those of  the prior owner.  The Guild
          _______________________

          disagrees,  arguing that as a  matter of federal  labor law under

          John Wiley  &amp; Sons, Inc. v. Livingston, 376 U.S. 543, 551 (1964),
          ________________________    __________

          the Publisher  is bound  by the collective  bargaining agreement.

          While the district court did not explicitly decide this issue, we

          need  not resolve the merits of the parties' arguments because it

          has no effect on the outcome of this appeal.   Even assuming that

          the Publisher  was bound, we  find that  as a matter  of law  the

          Guild's  grievance is  not  arbitrable and  that, therefore,  the

          district  court  properly  denied  the Guild's  request  for  the

          injunction.


                                         -14-














                    We  turn, then,  to  the arbitrability  of the  Guild's

          grievance and to our  reasons for not finding it arbitrable.  The

          Guild's grievance is as follows:

                      The Publisher has violated  and continues
                      to violate  the Agreement by  its refusal
                      to bargain a successor Agreement,  by its
                      failure to honor all terms and conditions
                      of  the  current  Agreement   during  the
                      course  of  negotiations,   and  by   its
                      related conduct, all in violation of Art.
                      15   and   related   provisions  of   the
                      collective bargaining agreement.

          (Appellant's  Appendix,  pp. 202  &amp; 234).    Article 15.2  of the

          Agreement provides, in relevant part, that "the Publisher or  the

          Guild  may initiate  negotiations  for a  new  Agreement to  take

          effect April 1,  1995" and  that "[t]he terms  and conditions  of

          this Agreement shall remain  in effect during such negotiations."

          (Appellant's Appendix, p. 202).   In its Demand for  Arbitration,

          the   relief   the   Guild    requests   is   to   "[o]rder   the

          Employer/Publisher  to  bargain  a  "new  agreement"  within  the

          meaning of Article  15.2, restore all status quo  ante conditions
                                                ________________

          pending such  bargaining and make all  affected employees whole."

          (Appellant's Appendix,  p. 234).  The  Publisher argues, however,

          that what the Guild  seeks to arbitrate is explicitly  beyond the

          scope of the arbitration provisions in the Agreement,  upon which

          the  Guild's   motion  to  compel  arbitration   relies.    Those

          provisions provide, in relevant part, as follows:

                      ARTICLE 12.  Grievance Committee

                      12.1    The   Guild  shall  designate   a
                      committee  .  . .  to  take  up with  the
                      Publisher  or  its  authorized agent  any
                      matter  arising  from the  application of

                                         -15-














                      this Agreement or affecting the relations
                      of the employees and the Publisher.

                      12.2   Any such matter, except renewal of
                                              _________________
                      this contract, not satisfactorily settled
                      _____________
                      within  a reasonable period  of its first
                      consideration may be  submitted to  final
                      and binding arbitration  by either  party
                      . . . .

          (Appellant's  Appendix, p.  61).   The Publisher argues  that the

          Guild's request is directly related to contract renewal and, when

          unveiled,    is    essentially    a    request    for   "interest

          arbitration."10   The district court  did not err  in denying the

          Guild's  request,  the   Publisher  concludes,   because  it   is

          explicitly prohibited by the terms of the Agreement.

                    While the Guild concedes that "interest arbitration" is

          prohibited by  Article  12.2's  contract  renewal  exclusion,  it

          nonetheless  insists  that  it  is  not  seeking  to  compel  the
                              
          ____________________

          10  Two categories of  labor arbitration have been distinguished:
          (i)  "grievance arbitration"  which  concerns  disputes over  the
          terms of existing contracts and (ii) "interest" or "new contract"
          arbitration  which allows for arbitration  of the terms  of a new
          agreement.   See Montgomery Mailers,  827 F.2d at  716 n.7; Local
                       ___ __________________                         _____
          Div. 589, Amalg. Transit Union v. Massachusetts, et al., 666 F.2d
          ______________________________    _____________________
          618, 620 (1st Cir.  1981) ("Unlike 'grievance arbitration,' which
          involves   the   interpretation  and   application   of  existing
          contractual    provisions,  'interest arbitration'  involves  the
          creation of new substantive  contractual terms, which will govern
          the parties' future  relations.").  See  also Silverman v.  Major
                                              _________ _________     _____
          League  Baseball Player Rels. Comm., Inc., 67 F.3d 1054, 1062 (2d
          _________________________________________
          Cir. 1995)  ("'Interest arbitration' is method  by which employer
          and union reach new  agreements by sending disputed issues  to an
          arbitrator   rather  than   settling   them  through   collective
          bargaining and economic force.");  Coca-Cola Bottling Co. v. Soft
                                             ______________________    ____
          Drink and  Brewery Workers Union, Local 812, 39 F.3d 408, 410 (2d
          ___________________________________________
          Cir. 1994) (noting that in NLRB v.  Sheet Metal Workers Local 38,
                                     ____     ____________________________
          575 F.2d 394, 398-99 (2d Cir. 1978) it reasoned that an "interest
          arbitration    provision" would  be  void as  contrary  to public
          policy  to the extent that it  applied to nonmandatory bargaining
          subjects  because a  contrary  ruling would  impair the  parties'
          freedom to exclude nonmandatory subjects from bargaining). 

                                         -16-














          Publisher to engage in interest arbitration; but rather, that  it

          "is seeking to have an arbitrator determine whether the Publisher

          has  unduly limited the scope of the negotiations for a successor

          agreement,  in  violation  of  Article  15.2  of  the  contract."

          (Appellant's  Brief,  p.  22).    The  Guild  explains  that  the

          arbitrator would  not be  dictating the  terms  of the  successor

          agreement; instead, it would be determining "whether Article 15.2

          imposes an obligation on the Publisher to negotiate in good faith

          on a  broader range of topics." (Appellant's  Brief, p. 26).  The

          Guild contends  that the district court's critical  error was its

          failure to distinguish between the  obligation to bargain in good

          faith and the  obligation to agree to specific  terms.  The Guild

          claims that  the district court, while  properly recognizing that

          the Guild only sought to have an arbitrator require the Publisher

          to  enter  into  bargaining  for  a  new  agreement,  erroneously
                           __________

          concluded  that  "[s]uch a  request is  beyond  the scope  of the

          arbitration  clause  in  the  old  agreement  which  specifically

          excludes contract renewal as a proper issue for arbitration."  In

          turn, the  Publisher contends  that the Guild's  "distinction" is

          but a  "semantic dance" when the case is put in its full context.

          The  Publisher contends that for  an arbitrator to  rule that the

          Publisher must engage in negotiations that are broader in scope -

          - i.e., renewal -- effectively amounts to the arbitrator deciding
            ____

          the "renewal of the  contract" which is expressly excluded  under

          Article  12.    Because  the  term  or  length  of  a  collective

          bargaining agreement  is one of the  more substantive provisions,


                                         -17-














          the Publisher claims this is nothing less than a form of interest

          arbitration.

                    We  agree with  the Publisher  and, thus,  find neither

          mistake  of law nor abuse  of discretion in  the district court's

          conclusion.  Not  only is the plain language of  Article 12 clear

          and  unambiguous  in  stating that  contract  renewal  is  not an

          arbitral matter, we  are also  unpersuaded by  the Guild's  claim

          that it asks  not for  "interest arbitration" but  rather for  an

          arbitrator  to  merely decide  its  rights  under the  Agreement.

          Without  deciding whether  a meaningful  distinction can  ever be

          made between  the terms of a  new agreement and the  scope of the

          negotiations  thereto,  or  whether  this distinction  is  but  a

          "semantic  dance" performed  by the  Guild,11 we  find  that here

          there is none.   In this case, as  a practical matter, it is  not

          possible for an arbitrator  to issue an award defining  the scope

          of  the negotiations  for  a new  contract without  substantively

          impacting the new contract and its terms and conditions.  Because

          the  scope of the negotiations is part of the negotiating process

          towards  a new  agreement,  the arbitrator  would necessarily  be

          making a determination involving  "renewal of this contract" were

          it to   define the  scope.  Thus,  although interest  arbitration

          goes  only  to the  terms  of the  agreement rather  than  to the
                              _____

          negotiations itself, the district  court neither erred nor abused
          ____________

          its  discretion  when it  concluded  that  the Guild's  grievance
                              
          ____________________

          11  We also note that the Guild's argument may not necessarily be
          a "semantic dance"  given that the parties could  have negotiated
          the impasse and be where they are today. 

                                         -18-














          amounted  to "interest  arbitration" and  was, therefore,  a non-

          arbitral  grievance  under the  plain  language  of Article  12's

          exclusion.

                    In  this regard, we find  the Guild's reliance on Inner
                                                                      _____

          City Broadcasting  Corp.  v. AFTRA,  586 F.  Supp. 556  (S.D.N.Y.
          ________________________     _____

          1984), and Cumberland Typographical  Union 244 v. The Times,  943
                     ___________________________________    _________

          F.2d 401, 406 (4th Cir. 1991), to be misguided.   First, in Inner
                                                                      _____

          City,  the court found that  where "AFTRA has  claimed that Inner
          ____

          [City]  violated   a  specific  provision  of   the  [agreements]

          requiring it to negotiate a new  agreement in good faith . . .  .

          [t]here is  .  . .  a  dispute between  the  parties as  to  'the

          interpretation  or breach'  of  the [agreements]."   Id.  at 561.
                                                               __

          This,  the court held, "must be resolved  by the method agreed to

          by the parties, namely arbitration."  Id.  Central to the court's
                                                ___

          holding  was its  finding  that AFTRA's  grievance fell  squarely

          within  the  arbitration  provision   at  issue  which  expressly

          provided that "any controversy or dispute arising with respect to

          this contract or the interpretation or breach thereof . . . shall

          be  settled by  arbitration."   Id.    In contrast,  the  Guild's
                                          ___

          grievance  and  the  relief  it  seeks  --  "to  bargain  a  'new

          agreement'  within the meaning of Article  15.2" -- goes directly

          to renewal of  the collective bargaining agreement and thus falls

          outside the  scope of  the arbitration provision  which expressly

          excludes contract renewal as a proper issue for arbitration.

                    Second, in  Cumberland,  the court  upheld the  union's
                                __________

          right to  arbitrate  a dispute  which  arose under  the  parties'


                                         -19-














          expired   collective   bargaining   agreement   concerning   that

          agreement's  lifetime job  guaranty provision.   The  dispute was

          about  whether  the lifetime  job  guarantee  provision at  issue

          prevented   dramatic  wage  decreases   during  the  pendency  of

          negotiations  for  a  new  agreement.    Central to  the  court's

          decision  was the fact that  "the 'new contract'  provision has a

          direct and  substantial effect  upon a vested  arbitrable right,"

          Cumberland,  943 F.2d  at  407, and  that  the union  "[was]  not
          __________

          seeking  a  'future   collective  bargaining  agreement'  through

          arbitration  . . . ,  but enforcement of  the existing continuing

          job guarantee agreement."   Id. at 406.   In contrast, here,  the
                                      ___

          Guild's  grievance  about  the  Publisher's  alleged  closed mind

          regarding negotiating  a successor  agreement does not  involve a

          vested  arbitrable   right  as  contract  renewal  is  explicitly
          ______  __________

          excluded under the plain language of Article 12.  In other words,

          when  unveiled, the  Guild's grievance  is essentially  concerned

          with  the  acquisition of  future  rights  --  through a  renewed

          agreement  -- and is, thus, but a form of "interest arbitration."

          Accordingly,  were we to grant  the Guild's request,  we would be

          compelling  matters  of contract  renewal  to  arbitration --  in

          blatant contradiction of the Agreement's plain language.

                    Indeed,  because  renewal of  the  agreement  is not  a

          permissible topic for arbitration,  we fail to see what  there is

          for  the  arbitrator  to  determine  other  than,  as  the  Guild

          suggests, whether the Publisher came to  the negotiating table in

          good faith  or with a  closed mind.   While this question,  which


                                         -20-














          stems from the  Publisher's refusal to  negotiate renewal of  the

          agreement after negotiations were  timely initiated by the Guild,

          may  involve a  question of  unfair labor  practice, it  does not

          involve  a  vested arbitral  right  under the  plain  language of
                             ________

          Article  12.    Cf.  Montgomery  Mailers',  827  F.2d  at  715-16
                          ___  ____________________

          (concluding that the formation of any new agreement is beyond the

          scope  of the  arbitration  clause where  the contract  expressly

          provides  that  any new  agreement is  to  be arrived  at through

          negotiation).

                    To   recapitulate,   the  Guild's   grievance   is  not

          arbitrable both by the plain language of the Agreement explicitly

          excluding  "renewal of this contract" and by the Guild's very own

          concession that  Article 12(2)  was intended to  exclude interest

          arbitration. Thus, because we  find "with positive assurance that

          the arbitration  clause is  not susceptible of  an interpretation

          that covers the  asserted dispute,"  Warrior &amp; Gulf,  363 U.S. at
                                               ______________

          582-83,  and because there are no  doubts to be resolved in favor

          of  arbitration,12 we  find no  error or  abuse of  discretion in

          the  district  court's  denial  of  the  Guild's  request  for  a

          permanent    injunction    compelling    arbitration    regarding

          negotiations  for a successor agreement, and  affirm its order in

          this respect.

                    Finally,  we address  the Guild's  claim that  "certain

          aspects of its Article  15 grievance do not depend on a predicate
                              
          ____________________

          12  Because we find the Guild's grievance not arbitrable, we need
          not address the remaining  two prongs that it had  to demonstrate
          in order to obtain an injunction.

                                         -21-














          finding that  the Publisher has refused to  negotiate a successor

          agreement,  and  therefore  cannot even  arguably  implicate  the

          "contract  renewal" exception to the  arbitration clause .  . . .

          [and that,] [t]herefore, the Publisher must at least be compelled

          to   arbitrate  those   aspects   of  the   arbitration  demand."

          (Appellant's Brief, p.  34 n.12).   After careful  review of  the

          record, however, we find that these issues which the Guild claims

          were part of its  grievance were never squarely presented  to the

          district  court.13   Because  they  were  not squarely  presented

          below,  the Guild may not raise them  for the first time in their

          interlocutory appeal.  See, e.g., Teamsters, Chauffeurs Local No.
                                 ___  ____  _______________________________

          59   v. Superline Transp.  Co., 953 F.2d  17, 21 (1st  Cir. 1992)
          __      ______________________

          ("If any principle is settled in this circuit, it is that, absent

          the most extraordinary circumstances,  legal theories not  raised
                              
          ____________________

          13  While the Guild made reference to "grievances" below, it only
          identified  two additional  grievances  -- neither  of which  are
          arbitrable  at this  point  -- despite  repeated requests  by the
          district  court during the  hearing on its  motion for injunctive
          relief to specify  exactly what it wanted to  have referred to an
          arbitrator.     The  first,  regarding  whether   the  terms  and
          conditions of  the  Agreement remain  in  effect, is  a  judicial
          function  which  the district  court  correctly noted  was  to be
          resolved  by the court prior to compelling arbitration.  See John
                                                                   ___ ____
          Wiley &amp; Sons,  Inc. v.  Livingston, 376 U.S.  543, 546-47  (1964)
          ___________________     __________
          (noting that threshold question of who  should decide whether the
          provisions survived the merger so as to be binding was a question
          for  the courts); Int'l Bhd. of Electrical Workers, Local 1228 v.
                            ____________________________________________
          Freedom  WLNE-TV, Inc., 760 F.2d 8, 9 (1st Cir. 1985) ("Generally
          ______________________
          it  is up  to  the court  to  determine, in  the first  instance,
          whether the  parties  have entered  into  a contract  .  . .  and
          whether that contract is still binding upon them.").  The second,
          regarding  whether  those   terms  and  conditions,  particularly
          Article 4.5,  preclude layoffs of  Guild members prior  to lawful
          impasse or the conclusion of negotiations, was rendered premature
          below  (by  the  Guild's  own admission)  given  the  Publisher's
          representation  that no  layoffs  would occur  prior to  reaching
          lawful impasse or while negotiations continued.  

                                         -22-














          squarely in the lower court cannot be broached for the first time

          on appeal."); McCoy v. Massachusetts Inst. of Tech., 950 F.2d 13,
                        _____    ____________________________

          22  (1st Cir. 1991) ("If claims are merely insinuated rather than

          actually  articulated  in the  trial  court,  we will  ordinarily

          refuse  to deem  them  preserved for  appellate review."),  cert.
                                                                      _____

          denied,  504 U.S. 910 (1992); Rivera-G mez v. de Castro, 843 F.2d
          ______                        ____________    _________

          631, 635 (1st Cir. 1988) ("A litigant has an obligation 'to spell

          out its arguments squarely and distinctly'  . . . or else forever

          hold its peace.").

                                         III

                    The Guild argues that the  district court erred when it

          concluded that "[i]f any  layoffs should occur after negotiations
                                                         _____

          have  been concluded, any unfair  labor practice would lie within

          the  jurisdiction  of  the  [NLRB],  before  which  body  a  case

          involving  the same  issues  is presently  pending."   The  Guild

          claims  that  the  district  court erroneously  agreed  with  the

          Publisher's argument below that the NLRB has primary jurisdiction

          over  the  issue  of  whether the  Publisher  had  fulfilled  its

          contractually imposed bargaining  obligations, including  whether

          the parties were at impasse in the negotiations.  The crux of the

          Guild's  argument is that, because its  claims arise solely under

          the Agreement and are on appeal solely pursuant to section 301 of

          the  LMRA,  this case  lies  within  the concurrent  jurisdiction

          shared by the federal courts and the NLRB.

                    We  review  de  novo  the  district   court's  implicit
                                ________

          jurisdictional finding  that the  Guild's claims fall  within the


                                         -23-














          primary jurisdiction of the  NLRB.  See Int'l Bhd.  of Teamsters,
                                              ___ _________________________

          Chauffeurs v. American Delivery Serv., Co., 50 F.3d 770, 770 (9th
          __________    ____________________________

          Cir.  1995).   It is  well-settled that  the NLRB  enjoys primary

          jurisdiction  over disputes involving  unfair labor  practices or

          representational issues.  See  Tamburello v. Comm-Tract Corp., 67
                                    ___  __________    ________________

          F.3d 973, 976 (1st Cir. 1995) (discussing how the "NLRA vests the

          NLRB with primary jurisdiction over unfair labor practices").  It

          is also  a "'well entrenched general  rule' . . .  that 'the fact

          that  a  particular  activity  may  constitute  an  unfair  labor

          practice  under section 8 of the LMRA,  29 U.S.C.   158, does not

          necessarily preclude jurisdiction under section 301 of the [LMRA]

          if  that activity  also  constitutes a  breach of  the collective

          bargaining   agreement.'"       Local    Union    No.   884    v.
                                          ___________________________

          Bridgestone/Firestone, Inc.,  58 F.3d 1247, 1256  (8th Cir. 1995)
          ___________________________

          (quoting  Local Union 204 of  the Int'l Bhd.  of Elec. Workers v.
                    ____________________________________________________

          Iowa  Elec. Light  and Power  Co., 668  F.2d 413,  416 (8th  Cir.
          _________________________________

          1982));  see William E.  Arnold Co. v.  Carpenters Dist. Council,
                   ___ ______________________     ________________________

          417 U.S. 12, 15-16 (1974)).

                    While we  agree with  the  Guild that  where a  party's

          conduct gives  rise to both a charge  of an unfair labor practice

          and a  claimed breach of  a collective  bargaining agreement  the

          NLRB  and the  district  court  share "concurrent  jurisdiction,"

          Local Union  No. 884,  58 F.3d at  1257, we  nonetheless find  no
          ____________________

          error in the district  court's order.  The reason, in a nutshell,

          is  because  we conclude  that the  Guild's complaint  falls more




                                         -24-














          appropriately within the NLRB's  primary jurisdiction than within

          the concurrent jurisdiction shared with the federal courts.

                    First,  we do  not find  that it  involves a  bona fide
                                                                  _________

          contractual dispute  arising out  of a  breach of the  Agreement.

          While  we  have not  found case  law  explicitly holding  so, the

          doctrine  of  concurrent  jurisdiction  applies  only  where  the

          conduct involves a  bona fide  claimed breach  of the  collective
                              _________

          bargaining  agreement.   Were  this  not  the  case, the  primary

          jurisdiction of the NLRB could  be circumvented simply by casting

          statutory  claims  as contractual  or  constitutional violations.

          Cf. Communication  Workers v. Beck,  487 U.S. 735,  742-44 (1987)
          ___ ______________________    ____

          ("Employees,   of  course,   may   not  circumvent   the  primary

          jurisdiction of the  NLRB simply by  casting statutory claims  as

          violations  of   the  union's  duty  of  fair  representation.");

          Amalgamated Clothing &amp; Textile  Workers Union v. Facetglas, Inc.,
          _____________________________________________    _______________

          845 F.2d 1250, 1252 (4th Cir. 1988) ("There is a strong policy in

          favor  of  using   the  procedures  vested  in  the   [NLRB]  for

          representational determinations  . .  . and  '[t]o fail  to apply

          this  policy  to section  301 actions  would  allow an  'end run'

          around  provisions  of  the  NLRA under  the  guise  of  contract

          interpretation.'" (quoting Iowa Elec., 668 F.2d at 418-19)).
                                     __________

                    We  are  unpersuaded  by  the Guild's  claim  that  the

          Publisher's refusal  to negotiate  a successor agreement  and its

          insistence on only negotiating a "merger/consolidation" agreement

          constitutes a breach of Article 15.2.  While the Guild may not be

          satisfied with  the "scope"  or progress of  the negotiations  it


                                         -25-














          initiated under Article 15.2 or with the Publisher's good  faith,

          the Publisher's conduct does not give rise to a claimed breach of

          the collective bargaining agreement, because Article 15.2 neither

          mandates renewal  nor delineates  the scope of  the negotiations;

          rather, it merely provides that either the Publisher or the Guild

          may timely  initiate negotiations for renewal.  Thus, because the

          Publisher's conduct does not  give rise to a colorable  breach of

          the  Agreement,   it  does   not  fall  within   the  "concurrent

          jurisdiction" shared by  the federal  courts and the  NLRB.   See
                                                                        ___

          Steinmetz  Elec. Contrs. Assoc. v. Local Union No. 58, Int'l Bhd.
          _______________________________    ______________________________

          of  Elec.  Workers,  517 F.  Supp.  428,  436  (E.D. Mich.  1981)
          __________________

          ("Though it cannot  be disputed  that the courts  and the  [NLRB]

          [share] concurrent jurisdiction . . . when a matter in dispute is

          not  an issue  under  a contract,  then  the courts  are  without

          jurisdiction.").   To  hold otherwise  would permit the  Guild to

          style what  is in essence  an unfair  labor practice claim  as an

          section  301  claim in  order  to  get  contract renewal  issues,

          including  the issue of impasse, before an arbitrator.  Cf. Local
                                                                  ___ _____

          Union No.  884, 58 F.3d at 1257  (rejecting characterization that
          ______________

          union's claim was "really a subterfuge . . . to get the  issue of

          'bargaining impasse' before an  arbitrator" where union's  claim,

          regarding   whether  disputed   rights  survived   expiration  of

          collective  bargaining   agreement,  was   in  fact   subject  to

          contract's arbitration provisions).14
                              
          ____________________

          14   Because we conclude  that concurrent  jurisdiction does  not
          exist in  this case, we  do not need  to address the  Publisher's
          contention, and the Guild's rebuttal, that the Guild's claims are

                                         -26-














                    Second, we  are swayed  by  the fact  that the  Guild's

          section 301  claim is  premised on  the same  set of facts  which

          generated  its  unfair labor  practice  charge  before the  NLRB,

          requires resolution  of the  same issues,  and requests the  same

          relief.  While the pendency of similar issues before the NLRB and

          the court,  does not require  dismissal or stay of  a section 301

          contract  action,  see  Local Union  No.  884,  58  F.3d at  1257
                             ___  _____________________

          (citations omitted), courts  may decline to act where  the issues

          presented   fall  within   the  scope   of  the   NLRB's  primary

          jurisdiction, as primary jurisdiction stems  from the judiciary's

          deference to  an  administrative agency's  expertise, see,  e.g.,
                                                                ___   ____

          United  States v.  Western  Pac. R.R.  Co.,  352 U.S.  59,  63-64
          ______________     _______________________

          (1956);  United Food and Commercial  Workers, Local 400 v. Marval
                   ______________________________________________    ______

          Poultry,  708 F.  Supp.  761,  764  (W.D.  Va.  1989).    Indeed,
          _______

          "[c]onsideration  of  the history  and  purposes  of the  primary

          jurisdiction doctrine  convinces us  that district  courts should

          not  serve  as the  initial  arbiters  of  unfair labor  practice

          charges  in section 301 actions."   Waggoner v.  R. McGray, Inc.,
                                              ________     _______________

          607 F.2d 1229, 1235 (9th Cir.) (reviewing doctrine and concluding

          that it mandates the holding that district courts may not decide,

          independent of the NLRB,  the merits of an unfair  labor practice


                              
          ____________________

          "primarily   representational"  and,  thus,  within  the  primary
          jurisdiction of the  NLRB.  See Local Union 204,  668 F.2d at 419
                                      ___ _______________
          ("We believe the  appropriate line between those  cases where the
          district court has  jurisdiction under section  301 and those  in
          which  it does  not is to  be determined  by examining  the major
          issues to be decided  as to whether they can  be characterized as
          primarily representational or contractual.").  

                                         -27-














          defense to enforcement of a collective bargaining agreement in  a

          section 301 action), reh'g denied, (1979).
                               ____________

                    Here, the gravamen of the Guild's complaint is that the

          employer bargained in bad  faith, unlawfully reached impasse, and

          unlawfully undermined the Guild's representational status.  These

          issues fall  squarely within  the NLRB's primary  jurisdiction as

          they  are  essentially  extra-contractual  claims  regarding  the

          Publisher's duty  to bargain  in good faith,  its conduct  during

          negotiations   and   the   resulting  damage   to   the   Guild's

          representational  status.  29 U.S.C.   158.  Accordingly, we find

          no error in the district court's conclusion that any unfair labor

          practice charge  would fall  within the NLRB's  jurisdiction once

          negotiations concluded.  Finally, we merely add that, even if the

          Guild's  claims constituted  a legitimate  section 301  claim, we

          would  nonetheless find  no abuse  of discretion in  the district

          court's decision to defer to the NLRB's jurisdiction.  Cf. Marval
                                                                 ___ ______

          Poultry Co.,  708 F. Supp.  at 764 (deferring  to the  NLRB while
          ___________

          recognizing that the district court's jurisdiction of the union's

          section 302 claim was "not preempted per se").
                                               ______

                                          IV

                    For the foregoing reasons, the judgment of the district

          court is dismissed in part as moot15 and affirmed in part.
                   _________                       ________
                              
          ____________________

          15   As a general rule, when a  case becomes moot on appeal -- or
          an  aspect thereof -- we vacate the district court's decision and
          remand  with  a  direction to  dismiss.    See,  e.g., McLane  v.
                                                     ___   ____  ______
          Mercedes-Benz  of North America, Inc.,  3 F.3d 522,  524 n.6 (1st
          _____________________________________
          Cir.  1993) (citing United States v.  Munsingwear, Inc., 340 U.S.
                              _____________     _________________
          36, 39 (1950)).  In the case of an interlocutory appeal, however,
          the usual practice is simply to dismiss the appeal as moot rather

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          ____________________

          than  vacate the order.   See McLane,  3 F.3d at  524 n.6 (citing
                                    ___ ______
          cases).

                                         -29-









